                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 ST. JOSEPH DIVISION

PROVISUR TECHNOLOGIES, INC.,                         )
                                                     )      Civil Action No. 5:19-CV-06021
                Plaintiff,                           )
                                                     )      Hon. Judge Stephen R. Bough
       v.                                            )
                                                     )
WEBER, INC., TEXTOR, INC., WEBER                     )
MASCHINENBAU GMBH BREIDENBACH,                       )
WEBER MASCHINENBAU GMBH                              )
NEURANDENBURG and TEXTOR                             )
MASCHINENBAU GMBH,                                   )
                                                     )
                Defendants.                          )

                             MOTION TO WITHDRAW AS COUNSEL

       Timothy J. Barron and Carla J. Baumel of Jenner & Block LLP respectfully move pursuant

to Local Rule 83.2 to withdraw as counsel of record for Plaintiff Provisur Technologies, Inc. Craig

Martin, Sara Horton, Michael Babbitt, and Ren-How Harn recently departed Jenner & Block LLP

and joined Willkie Farr & Gallagher LLP. Representation of this matter has been transferred to

Willkie Farr & Gallagher LLP.

       Plaintiff has consented to Mr. Barron’s and Ms. Baumel’s withdrawal. Further, good cause

exists for granting this motion because Mr. Martin, Ms. Horton, Mr. Harn, and Mr. Babbitt of

Willkie Farr & Gallagher LLP and Jeffrey Simon of Husch Blackwell LLP will continue to serve

as counsel for Plaintiff. See L.R. 83.2.




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Dated: April 20, 2020                      Respectfully submitted,

                                           JENNER & BLOCK

                                           /s/ Carla J. Baumel
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                                           /s/ Timothy J. Barron
                                           Timothy J. Barron (admitted Pro Hac Vice)
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                                           WILLKIE FARR & GALLAGHER LLP

                                           /s/ Craig C. Martin
                                           Craig C. Martin
                                           Sara T. Horton
                                           Michael G. Babbitt
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                                           Attorneys for Plaintiff
                                           Provisur Technologies, Inc.




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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 20, 2020, a copy of the foregoing was filed
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to all counsel of record.


                                                     /s/ Timothy J. Barron
                                                     Attorney for Plaintiff




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